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         AFFIDAVIT IN SUPPORT OF APPLICATIONS FOR SEARCH WARRANTS

              I, Joseph T. Gugliotta, being duly sworn, do hereby depose and say the following:

                          INTRODUCTION AND PURPOSE OF AFFIDAVIT

         1.      I am a U.S. Postal Inspector with the United States Postal Inspection Service

(USPIS) and have been since 2006. I am assigned to the USPIS Boston Division where I am a

member of the Mail Theft and Identity Theft Team, which investigates, among other things,

financial crimes involving mail theft and the theft of personal identifiers and financial account

numbers. During my employment as a U.S. Postal Inspector, I have conducted and participated in

investigations of numerous financial crimes involving mail, bank, and wire fraud, as well as

identity theft, money laundering, and counterfeit financial instruments.

         2.      As further discussed below, I am investigating Imanol RIOS-FRANCO and others

for violations of 18 U.S.C. §1704 (Theft or Forging of Postal Service Keys), 18 U.S.C. § 1708

(Theft or Receipt of Stolen Mail), 18 U.S.C. § 1343 (Wire Fraud), 18 U.S.C. § 1344 (Bank Fraud),

and 18 U.S.C § 371 (Conspiracy) (hereinafter, the “Target Offenses”).

         3.      I submit this affidavit in support of applications for warrants to search the

following:

                 a.     A 2018 BMW X6 bearing Massachusetts registration 1WYZ17 and Vehicle

                        Identification Number 5UXKU2C53J0Z61448 (“the Subject Vehicle”),

                        which is in law enforcement custody and described in Attachment A-1. This

                        vehicle is registered to Andrei Echeverria of A&E Lux Auto, LLC, a small

                        rental car company with 11 vehicles registered to Echeverria. According to

                        Commonwealth of Massachusetts records, Echeverria is listed as the

                        Manager of A&E Lux Auto, LLC; and

                                                     1
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                b.     The Infotainment and Telematic System in the Subject Vehicle,

                       (hereinafter, “the equipment”) described in Attachment A-2.

There is probable cause to believe that the Subject Vehicle and the equipment contain evidence,

fruits, and instrumentalities of the Target Offenses, as described in Attachments B-1 and B-2.

         4.     The facts in this affidavit come from my personal review of records, my training

and experience, and information obtained from other agents and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrants and does

not set forth all of my knowledge about this matter. The background of this investigation can be

found in the February 26, 2024 Affidavit of Special Agent E. Austin Wozniak. I am incorporating

Special Agent Wozniak’s Affidavit by reference and it is attached as Exhibit A. All times herein

are approximate.

                                      PROBABLE CAUSE

                         Search Warrant for RIOS-FRANCO’s Residence

         5.     Exhibit A was submitted, in part, to support applications for search warrants for

RIOS-FRANCO’s residence at 3611 Washington Street, Unit B222, Jamaica Plain, Massachusetts

02130 (24-mj-4039-DHH) and RIOS-FRANCO’s person (24-mj-4038-DHH).

         6.     In preparation for the warrant, investigators reviewed security camera footage and

conducted surveillance around RIOS-FRANCO’s residence. On February 2, 2024, at 1:20 p.m.,

investigators observed the Subject Vehicle stop outside 3611 Washington Street in front of the

common entrance closest to Unit B222. At 1:40 p.m., investigators observed a masked subject

wearing a black Moncler-brand jacket come from the garage entrance of 3611 Washington Street

and enter the passenger side of the Subject Vehicle. On February 12 and 17, 2024, investigators

observed RIOS-FRANCO wearing the same black Moncler-brand jacket coming and going from
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RIOS-FRANCO’s apartment. I believe that RIOS-FRANCO was a passenger in the Subject

Vehicle on February 2, 2024.

         7.      On February 27, 2024, agents executed the search warrant for RIOS-FRANCO’s

residence and found him and his mother inside Unit B222 in the early morning. Investigators also

found evidence of mail theft and card cracking in RIOS-FRANCO’s residence including 17 debit

cards in other people’s names associated with accounts at different banks as well as a large number

of checks in names of people not associated with B222 or RIOS-FRANCO. During my review of

the large number of checks, I found a check written by a resident of Watertown, Massachusetts,

dated January 11, 2024. 1 I also found a Bank of America (“BOA”) ATM receipt showing the

deposit of more than $9,000 at a BOA ATM on February 22, 2024.

         8.     In my training and experience, the debit cards recovered from RIOS-FRANCO’s

residence are indicative of recruited accountholders who voluntarily provided access to their bank

accounts to RIOS-FRANCO in exchange for a portion of funds fraudulently obtained by a check

washing scheme. The large number of checks seized from RIOS-FRANCO’s residence is

indicative of a mail theft scheme, wherein individuals use an Arrow Key to open USPS mail

collection boxes and steal checks dropped into a collection box. The BOA ATM receipt is

evidence of the deposit of one or more stolen checks into a recruited accountholder’s BOA account.

         9.     Finally, in my training and experience, people often date their checks on or about

the day they mail them. The discovery of checks dated in January 2024 indicate to me that RIOS-

FRANCO was in possession of stolen checks for at least one month.




1       On January 9, 2024, I received a request from Watertown Police asking for assistance
investigating a large number of Arrow Key-related mail theft incidents. As discussed in Exhibit
A, Arrow Keys are used to open USPS mail collection boxes.
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        10.     I have attached images below of the container seized from RIOS-FRANCO’s

residence that contained the numerous debit cards, stolen checks, and BOA ATM receipt.




        11.     Agents also found a BMW key fob in RIOS-FRANCO’s residence. When I asked

RIOS-FRANCO about this key fob, he said it belonged to his friend “YAZ” and that the vehicle

was parked in a parking lot on a side street near the apartment building. RIOS-FRANCO said he

has been friends with YAZ for the past year but did not know YAZ’s first or last name.

        12.     Members of the search team located the Subject Vehicle in a parking lot on the

corner of Washington Street and Burnett Street, which is a short distance from RIOS-FRANCO’s

residence. Behind the driver’s seat, in plain view, investigators saw a yellow bottle of HEET.

HEET is a fuel additive that is commonly used to wash hand-written ink from checks. I also saw

on the front passenger seat, a black jacket resembling the Moncler-brand jacket worn by RIOS-

FRANCO days prior to the execution of the search warrant. The Subject Vehicle was towed to

Boston Police District B-2 and impounded pending the application of these search warrants.

      The Use of Rental Cars Associated with A&E Lux Auto, LLC to Commit Mail Theft

        13.     I am aware of multiple instances of mail theft that have occurred since October

2023, involving vehicles registered to Andrei Echeverria of A&E Lux Auto, LLC. For example,

on October 30, 2023, a blue Audi bearing Massachusetts Registration 1EML67 was used in a mail

theft incident in Wellesley. An image of this vehicle and a subject stealing mail is below.
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        14.      On November 27, 2023, Wellesley PD and Newton PD pursued a red BMW bearing

Massachusetts Registration 2RDJ15 after a mail theft incident outside of the Grove Street Post

Office in Wellesley. The pursuit ended when the red BMW crashed. Two individuals were

arrested and hundreds of pieces of mail from several communities, including Newton and

Wellesley, were recovered from the red BMW. 2 An image of this vehicle and a subject stealing

mail is below.




2     This incident is under investigation and at this time there is no known affiliation between
RIOS-FRANCO or co-conspirators with the individuals arrested on November 27, 2023.
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        15.     Both the blue Audi and red BMW are registered to Andrei Echeverria of A&E Lux

Auto, LLC, the same owner as the Subject Vehicle.

        16.     Based on my training and experience, the evidence seized from RIOS-FRANCO’s

residence (including the key fob to the Subject Vehicle), and the HEET observed in the Subject

Vehicle, I believe that RIOS-FRANCO and others used the Subject Vehicle to commit the Target

Offenses. I further believe that information from the equipment inside the Subject Vehicle will

contain evidence of the Target Offenses, described in Attachment B-2. A description of the

equipment and the information capable of being stored on such systems is below.

BACKGROUND REGARDING THE SUBJECT VEHICLE AND ITS INFOTAINMENT

                               AND TELEMATICS SYSTEMS

        17.     Based on my training and experience, and discussions with other experienced law

enforcement officers and witnesses, the Subject Vehicle’s infotainment and telematic systems (the

“equipment”) collects data regarding the Subject Vehicle’s use and other electronic devices

connected to it.
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        18.     Berla.co is a leading provider of vehicle information forensic software. Berla’s

website and application allows investigators to search by make, model and VIN number and will

provide a report of the information that can be forensically recovered from a vehicle. These

systems are designed to store data which includes recent destinations, favorite locations, call logs,

contact lists, SMS messages, emails, pictures, videos, social media feeds, and the navigation

history of the vehicle. These systems may also record events such as the activation and de-

activation of the vehicle's headlights, the opening and closing of doors at a specific location, and

the location of the vehicle at the time Bluetooth devices are connected. The Subject Vehicle’s

equipment is capable of storing the following information:

               a.      Electronic devices connected to the Subject Vehicle;

               b.      Phones connected to the Subject Vehicle;

               c.      Unique identifiers of the phones connected to the Subject Vehicle;

               d.      Contacts;

               e.      Call logs;

               f.      SMS messages;

               g.      Media files;

               h.      CD/DVD history;

               i.      Traffic updates;

               j.      Navigation history;

               k.      Favorite and/or recent locations;

               l.      Bluetooth connections; and

               m.      USB connections.

        19.     Based on my training and experience, and discussions with other experienced law

enforcement officers and witnesses, I have also learned that:
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               a.     Many modern motor vehicles are equipped with sensors, cameras, 3

                      transmitters, and electronic control units (“ECUs”) 4 to monitor and manage

                      vehicle operations, track vehicle movement, and exchange information with

                      other vehicles and infrastructure. 5 These systems also enable motor vehicles

                      to interface with various types of mobile devices to facilitate the use of

                      applications, including third-party navigation, hands-free phone calls,

                      multimedia streaming, and other features.

               b.     Two commonly installed ECUs within motor vehicles are infotainment and

                      telematics systems—sometimes referred to as the Telematics Control Unit

                      and the Infotainment Control Unit. These systems typically retain user data

                      within the vehicle.

               c.     A vehicle’s infotainment system combines hardware and software to

                      provide entertainment features. Many infotainment systems allow drivers


3      As of 2018, the US National Highway Safety Transportation Agency requires new motor
vehicles sold in the United States to have backup cameras installed by the manufacturer.

4       “ECU” is a generic term applied to any embedded computer that controls one or more electrical
systems within a vehicle. ECUs are typically installed in a vehicle by the original equipment
manufacturer during the manufacturing process. There are many types of ECUs, and as vehicles have
more features each year, the number of ECUs in each motor vehicle increases. Newer motor vehicles
can integrate as many as 150 ECUs, ensuring, in theory, that each part of the motor vehicle is running
properly. Some examples of common ECUs include the Engine Control Module, Transmission Control
Module, Brake Control Module, and Suspension Control Module, as well as the Telematics Control Unit
and Infotainment Control Unit.

5        The infotainment and telematics systems in motor vehicles are not the same as “black box”
recorders. Black box recorders are called event data recorders (EDRs) or crash data recorders. These
black box recorders can record vehicle speed, engine speed, steering angle, throttle position, braking
status, force of impact, seatbelt status, and airbag deployment. In 2006, the US National Highway Traffic
Safety Administration (NHTSA) adopted regulations requiring EDRs to uniformly collect certain crash
data to assist crash investigators with accident reconstruction efforts. In 2012, NHTSA proposed
requiring manufacturers to install EDRs in all new cars and trucks, but in 2019, the NHTSA withdrew
the proposal because automakers have voluntarily installed the devices in nearly all vehicles.
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        and passengers to connect their mobile electronic devices to the vehicle.

        When connected, the driver and/or passengers may gain access to, for

        example, Global Positioning System (GPS) navigation, video players,

        music streaming, voice calling, texting, and traffic data. Many systems

        enable talking hands-free with Bluetooth connectivity, listening to music,

        watching videos, or navigation. Many of these features are accessible via

        the (usually interactive) console located on the front dashboard of the

        vehicle.

  d.    A vehicle’s telematics system typically collects and stores diagnostic data

        from various systems (other ECUs) within the vehicle, including historical

        navigation points, speed, and event data. Historical event data may include

        information regarding when the car’s trunk, doors, and windows opened and

        closed, when headlights turned on and off, and when gears changed, or

        brakes were engaged.

  e.    The main difference between the infotainment and telematics systems is that

        the infotainment system is about entertainment for the occupants of the

        vehicle, and the telematics system is for collecting and reporting

        (transmitting) information—such as vehicle use data, maintenance

        requirements, and automotive servicing—about the vehicle. Typical

        telematics data may include turn-by-turn navigation, remote access,

        emergency calling, and maintenance notifications. Examples of vehicle

        telematics systems include General Motors’ OnStar, BMW’s “Assist,” and

        Mercedes’ “mbrace.” Some of these systems are integrated multimedia
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        navigation     and      telematics     systems      in     one     (combined

        infotainment/telematics systems), like Toyota’s “Entune” and Ford’s

        “Sync.”

  f.    The data generated, collected, transmitted, and retained by motor vehicles

        can provide valuable information in law enforcement investigations of

        crimes. For example, many infotainment systems support the importation

        of content and other data information from a particular user’s mobile device.

        Such data may include content that may provide attribution to particular

        user(s), including mobile device identifiers, wireless telephone numbers,

        user account details, passwords, user voice profiles, contact lists, call logs,

        text messages, pictures, e-mail, videos, web history, GPS coordinates, and

        other historical navigation information.

  g.    I am aware that the ECUs within many motor vehicles store data for

        prolonged periods of time. Furthermore, even after a previously connected

        mobile device is removed from the physical vehicle, data may remain within

        the ECU. Such stored data can be used to identify locations, victims,

        witnesses, associates, and co-conspirators and may include communications

        and images of criminal activity. In sum, a forensic examination of a motor

        vehicle’s infotainment and telematics systems may reveal the vehicle’s GPS

        location information, movements, operations, and user data at critical

        moments before, during, and after the commission of a crime.

  h.    The Subject Vehicle has an infotainment and telematic system (the

        “equipment”). To complete a forensic extraction of the equipment, it may
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        be necessary, temporarily, to remove trim and other components of the

        Subject Vehicle to access the equipment. It may also be necessary to repair

        the equipment, replace the screen, reconnect wires, and replace batteries. It

        may be necessary to employ advanced forensic processes to bypass locked

        display screens and other data access restrictions. Advanced processes may

        include potentially destructive forensic techniques used to remove memory

        chips from computers and other electronic storage containers that may be

        found within the equipment and Subject Vehicle.           In the event that

        potentially destructive processes are required to perform this extraction,

        parts of the Subject Vehicle may be destroyed and rendered useless.

  i.    Furthermore, it may be necessary to return to the Subject Vehicle and

        reconnect the equipment to the Subject Vehicle’s power source to perform

        the extraction using forensic software. This is because there are various

        computer networks working simultaneously when a vehicle is powered on,

        and in some vehicles, the infotainment and telematics systems require the

        other networks to work in tandem to complete the data extraction.

  j.    The requested warrant authorizes a later review of the data seized or copied

        from the equipment, which review may continue past the date required for

        execution of the warrant.
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                                           CONCLUSION

    20.       I have probable cause to believe that evidence, fruits, and instrumentalities of the

Target Offenses, as described in Attachments B-1 and B-2, are contained in the Subject Vehicle

described in Attachment A-1 and the equipment described in Attachment B-2.

                                                    Respectfully submitted,




                                                    Joseph T. Gugliotta
                                                    Postal Inspector
                                                    United States Postal Inspection Service


Signed electronically and sworn to via telephone in accordance with Federal Rule of Criminal
Procedure 4.1 on this ____
                      15th day of March 2024.




             2:20 p.m.                               ____________________________
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                                   Attachment A-1

                              Property to be Searched


       A 2018 BMW X6 with VIN 5UXKU2C53J0Z61448 and Massachusetts
Registration 1WYZ17 (“the Subject Vehicle”) that currently is stored securely at Boston
Police District B-2, 2400 Washington Street, Roxbury, Massachusetts 02119.
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                                    Attachment A-2
                                Property to be Searched
                    Infotainment System from the Subject Vehicle


       The infotainment and telematic systems (the “equipment”) of a 2018 BMW X6 with
VIN 5UXKU2C53J0Z61448 and Massachusetts Registration 1WYZ17 (“the Subject
Vehicle”) that currently is stored securely at Boston Police District B-2, 2400 Washington
Street, Roxbury, Massachusetts 02119.
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                                     Attachment B-1
                                   Items to be Seized


       Any and all property that establishes custody or occupancy of the Subject Vehicle
or involves violations of 18 U.S.C. §1704 (Theft or Forging of Postal Service Keys), 18
U.S.C. § 1708 (Theft or Receipt of Stolen Mail), 18 U.S.C. § 1343 (Wire Fraud), 18
U.S.C. § 1344 (Bank Fraud), and 18 U.S.C § 371 (Conspiracy) from January 2023 to
present, including:


       1.      Rental records;
       2.      Implements or devices used to steal or “fish” mail from collection boxes;
       3.      Financial instruments, including checks and money orders;
       4.      ATM deposit slip and withdrawal receipts, as well as other financial
               records or notes involving financial transactions;
       5.      Notes or records pertaining to communication between Imanol RIOS-
               FRANCO and other individuals that relate to the above-mentioned
               offenses;
       6.      HEET or other substances used to wash hand-written ink and any
               containers that could be used for washing ink.
       7.      Debit, credit, or gift cards in names other than RIOS-FRANCO;
       8.      Notes, records, or communications pertaining to mobile banking access
               including usernames, passwords, and challenge questions;
       9.      Stolen U.S. mail, including mail not addressed to RIOS-FRANCO;
       10.     Stolen checks, including checks payable to or drawn from accounts
                 Related
               unrelated to individuals other than RIOS-FRANCO;
       11.     USPS Arrow Keys or counterfeit Arrow Keys;
       12.     US currency related to income derived from bank fraud or wire fraud;
       13.     Records and tangible objects pertaining to the payment, receipt, transfer,
               or storage of money or other things of value by RIOS-FRANCO,
               including:
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        a.     Bank, credit union, investment, money transfer, and other financial
               account information;
        b.     Credit and debit card account information;
        c.     Tax statements and returns;
        d.     Business or personal expenses;
        e.     Income, whether from wages or investments; and
        f.     Loan applications and related documents.
  14.   Records and tangible objects pertaining to the travel of RIOS-FRANCO
        between July 1, 2023 and October 20, 2023;
  15.   Clothing items and accessories as depicted in the CCTV footage
        throughout the investigation, including:
        a.     A gray sweatshirt with the green writing “Spy5er” depicted below:




        b.     A cellphone case with “Sprinklez” and black/white stickers as
               depicted below:
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                                       Attachment B-2
                                      Items to be Seized
       Any information regarding violations of 18 U.S.C. §1704 (Theft or Forging of
Postal Service Keys), 18 U.S.C. § 1708 (Theft or Receipt of Stolen Mail), 18 U.S.C. §
1343 (Wire Fraud), 18 U.S.C. § 1344 (Bank Fraud), and 18 U.S.C § 371 (Conspiracy)
from January 2023 to present, including:


    1. Records pertaining to communications between Imanol RIOS-FRANCO and
        other individuals, related to the above-mentioned offenses;
    2. Records that identify device(s) connected to the equipment, and records
        identifying the user(s) of those device(s);
    3. Data, information, images, and vehicle diagnostic data from the equipment,
        related to the above-mentioned offenses, including:
               a.      Electronic devices connected to the Subject Vehicle;

               b.      Phones connected to the Subject Vehicle;

               c.      Unique identifiers of the phones connected to the Subject Vehicle;

               d.      Contacts;

               e.      Call logs;

               f.      SMS messages;

               g.      Media files;

               h.      Traffic updates;

               i.      Navigation history;

               j.      Favorite and/or recent locations;

               k.      Bluetooth connections; and

               l.      USB connections.
